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 5                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WASHINGTON
 6

 7   UNITED STATES OF AMERICA,                     CASE NO. CR-13-6054-EFS-4

 8                                Plaintiff,
                                                   ORDER GRANTING DEFENDANT
 9                 v.                              LANFORD’S MOTION TO MODIFY ORDER
                                                   SETTING CONDITIONS OF RELEASE
10   BRANDON SCOTT LANGFORD (4),

11                                Defendant.

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             Before the Court, without oral argument, is Defendant Brandon
13
     Scott Langford’s First Motion to Modify Order Setting Conditions of
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     Release, ECF No. 164, and related Motion to Expedite, ECF No. 163.
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     Defendant, who is set for sentencing on May 13, 2014, asks the Court
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     to     remove      his   electronic-home-confinement            and    GPS-monitoring
17
     condition, ECF Nos. 26 & 113.            Defense counsel Scott Johnson conferred
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     with    counsel    for   the    United    States   and   with    the   assigned   U.S.
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     Probation Officer: neither have an objection to this request.                 ECF No.
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     164 at 2.       After reviewing the record, the Court finds good cause to
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     HEREBY ORDER:
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             1.    Condition No. 16 is TERMINATED.
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             2.    All other conditions of release remain in effect.
24
     //
25
     /
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     ORDER - 1
       Case 2:13-cr-06054-EFS             ECF No. 165   filed 03/17/14   PageID.385 Page 2 of 2



 1           3.       Defendant’s First Motion to Modify Order Setting Conditions

 2                    of Release, ECF No. 164, and related Motion to Expedite,

 3                    ECF No. 163, are GRANTED.

 4           4.       ECF No. 162 is DENIED AS MOOT, as it was replaced by ECF

 5                    NO. 164.

 6           IT IS SO ORDERED.              The Clerk’s Office is directed to enter this

 7   Order and provide copies to all counsel and the U.S. Probation Office.

 8           DATED this         17th      day of March 2014.

 9
                                        s/ Edward F. Shea
10                                         EDWARD F. SHEA
                                Senior United States District Judge
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     ORDER - 2
